
Justice Souter,
concurring in the judgment.
Even though I do not conclude that assisted suicide is a fundamental right entitled to recognition at this time, I accord the claims raised by the patients and physicians in this case and Washington v. Glucksberg a high degree of importance, requiring a commensurate justification. See Washington v. Glucksberg, ante, at 782 (Souter, J., concurring in judgment). The reasons that lead me to conclude in Glucksberg that the prohibition on assisted suicide is not arbitrary under the due process standard also support the distinction between assistance to suicide, which is banned, and *810practices such as termination of artificial life support and death-hastening pain medication, which are permitted. . I accordingly concur in the judgment of the Court.
